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                                    13
                 Phoenix, Arizona




                                    14
                                                               UNITED STATES DISTRICT COURT
                                    15                        SOUTHERN DISTRICT OF CALIFORNIA
                                    16
                                    17         Adi Cebo,                                          Case Number: '17CV0211 JLS BGS
                                    18
                                                                    Plaintiff,                    Complaint For Damages
                                    19         v.
                                    20                                                            Jury Trial Demanded
                                               CMRE Financial Services, Inc.,
                                    21
                                    22                              Defendant.
                                    23
                                    24
                                                                                   INTRODUCTION
                                    25
                                          1.        The United States Congress has found abundant evidence of the use of
                                    26
                                                    abusive, deceptive, and unfair debt collection practices by many debt
                                    27
                                                    collectors, and has determined that abusive debt collection practices
                                    28

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                                               Complaint                             - 1 of 8 -
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                                     1            contribute to the number of personal bankruptcies, to marital instability, to the
                                     2            loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                     3            Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                     4            “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                     5            to insure that those debt collectors who refrain from using abusive debt
                                     6            collection practices are not competitively disadvantaged, and to promote
                                     7            consistent State action to protect consumers against debt collection abuses.
                                     8    2.      The California legislature has determined that the banking and credit system
                                     9            and grantors of credit to consumers are dependent upon the collection of just
                                    10            and owing debts and that unfair or deceptive collection practices undermine
                                    11            the public confidence that is essential to the continued functioning of the
                                    12            banking and credit system and sound extensions of credit to consumers. The
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                                    13            Legislature has further determined that there is a need to ensure that debt
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                                    14            collectors exercise this responsibility with fairness, honesty and due regard
                                    15            for the debtor’s rights and that debt collectors must be prohibited from
                                    16            engaging in unfair or deceptive acts or practices.
                                    17    3.      Adi Cebo, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                    18            challenge the actions of CMRE Financial Services, Inc. (“Defendant”), with
                                    19            regard to attempts by Defendant to unlawfully and abusively collect a debt
                                    20            allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                    21    4.      Plaintiff makes these allegations on information and belief, with the exception
                                    22            of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                    23            Plaintiff alleges on personal knowledge.
                                    24    5.      While many violations are described below with specificity, this Complaint
                                    25            alleges violations of the statutes cited in their entirety.
                                    26    6.      Unless otherwise stated, Plaintiff alleges that any violations by Defendants
                                    27            were knowing and intentional, and that Defendants did not maintain
                                    28            procedures reasonably adapted to avoid any such violation.

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                                     1                                      JURISDICTION AND VENUE
                                     2    7.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                     3            1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                     4    8.      This action arises out of Defendants' violations of the Fair Debt Collection
                                     5            Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                     6            Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                     7            (“RFDCPA”).
                                     8    9.      Because Defendant operates within and does business within the State of
                                     9            California, personal jurisdiction is established.
                                    10    10.     Because Plaintiff is located in California, and Defendant did business here,
                                    11            Defendant is subject to the Rosenthal Fair Debt Collection Practices Act,
                                    12            California Civil Code §§ 1788-1788.32 (“RFDCPA”).
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                                    13    11.     Venue is proper pursuant to 28 U.S.C. § 1391 because the actions giving rise
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                                    14            to the cause of actions brought in the case occurred within this judicial
                                    15            district.
                                    16                                                  PARTIES
                                    17    12.     Plaintiff is a natural person who resides in the State of California.
                                    18    13.     Defendant is located in the city of Brea, and the State of California.
                                    19    14.     Defendant regularly does business within the County of San Diego.
                                    20    15.     Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                    21            as that term is defined by 15 U.S.C. § 1692a(3).
                                    22    16.     Defendant is a person who uses an instrumentality of interstate commerce or
                                    23            the mails in a business the principal purpose of which is the collection of
                                    24            debts, or who regularly collect or attempt to collect, directly or indirectly,
                                    25            debts owed or due or asserted to be owed or due another and are therefore a
                                    26            debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    27    17.     Plaintiff is a natural person from whom a debt collector sought to collect a
                                    28            consumer debt which was due and owing or alleged to be due and owing from

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                                               Complaint                             - 3 of 8 -
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                                     1          Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                     2          1788.2(h).
                                     3    18.   Defendant, in the ordinary course of business, regularly, on behalf of
                                     4          themselves, or others, engage in debt collection as that term is defined by
                                     5          California Civil Code § 1788.2(b), is therefore a debt collector as that term is
                                     6          defined by California Civil Code § 1788.2(c).
                                     7    19.   This case involves money, property or their equivalent, due or owing or
                                     8          alleged to be due or owing from a natural person by reason of a consumer
                                     9          credit transaction. As such, this action arises out of a consumer debt and
                                    10          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                    11                                        FACTUAL ALLEGATIONS
                                    12    20.   At all times relevant to this matter, Plaintiff was an individual with his
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                                    13          personal residence within the State of California.
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                                    14    21.   At all times relevant, Defendant conducted business within the State of
                                    15          California.
                                    16    22.   At all times relevant, Defendant was subject to the laws of the State of
                                    17          California.
                                    18    23.   Sometime before August 2016, Plaintiff is alleged to have incurred certain
                                    19          financial obligations.
                                    20    24.   These financial obligations were primarily for personal, family or household
                                    21          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    22          §1692a(5).
                                    23    25.   These alleged obligations were money, property, or their equivalent, which is
                                    24          due or owing, or alleged to be due or owing, from a natural person to another
                                    25          person and are therefore a “debt” as that term is defined by California Civil
                                    26          Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                    27          Civil Code §1788.2(f).
                                    28

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                                     1    26.   Sometime thereafter, but before August 2016, Plaintiff allegedly fell behind in
                                     2          the payments allegedly owed on the alleged debt. Plaintiff currently disputes
                                     3          the validity of this alleged debt.
                                     4    27.   On or about August 2016, Defendant sent a letter to Plaintiff in an attempt to
                                     5          collect an alleged debt.
                                     6    28.   This letter was a “communication” as 15 U.S.C. §1692a(2) defines that term.
                                     7    29.   Subsequently, on or about September 2, 2016, Plaintiff disputed the alleged
                                     8          debt and requested specific information from Defendant concerning the
                                     9          alleged debt.
                                    10    30.   After more than thirty days, Plaintiff became frustrated by not receiving a
                                    11          response by Defendant. Plaintiff then sent Defendant a cease and desist.
                                    12    31.   In this letter, Plaintiff advised Defendant that Plaintiff wished Defendant to
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                                    13          cease further communication with the Plaintiff in a manner consistent with the
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                                    14          requirements pursuant to 15 U.S.C. § 1692c(c).
                                    15    32.   Plaintiff sent his cease and desist letter by certified mail and has confirmed
                                    16          that Defendant signed for and received Plaintiff’s letter.
                                    17    33.   After signing for Plaintiff’s cease and desist letter, on or about October 25,
                                    18          2016, Defendant then sent Plaintiff another letter attempting to collect the
                                    19          alleged debt.
                                    20    34.   In Defendant’s October 25, 2016 letter, Defendant alleged an amount owed of
                                    21          $278.00, interest in the amount of $5.26 for a total amount of $283.26.
                                    22    35.   This action was in violation of 15 U.S.C. § 1692c(c).
                                    23    36.   Because this action violated the language in 15 U.S.C. § 1692c(c), Defendant
                                    24          also violated Cal. Civ. Code § 1788.17 as it incorporates 15 U.S.C. §
                                    25          1692c(c).
                                    26    37.   Plaintiff was aware of his rights to stop a debt collector from communicating
                                    27          with him after a cease and desist letter.
                                    28

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                                     1    38.   Plaintiff was frustrated by Defendant’s refusal to provide him with specific
                                     2          requested documents and therefore did not want to communicate any further
                                     3          with Defendant.
                                     4    39.   Through Defendant’s actions, Plaintiff suffered an invasion of a legally
                                     5          protected interest in limiting communications from debt collectors, which is
                                     6          specifically addressed and protected by both the Federal Fair Debt Collection
                                     7          Practices Act as well as the California Rosenthal Act.
                                     8    40.   Defendant willfully ignoring Plaintiff’s request to end all communication
                                     9          frustrated, angered, and distressed Plaintiff.
                                    10                                                  COUNT I
                                    11                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                    12                                       15 U.S.C. §§ 1692 ET SEQ.
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                                    13    41.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
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                                    14          paragraphs.
                                    15    42.   The foregoing acts and omissions constitute numerous and multiple violations
                                    16          of the FDCPA, including but not limited to each and every one of the above-
                                    17          cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    18    43.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                    19          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    20          an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                    21          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                    22          each and every defendant, jointly and severally.
                                    23                                                 COUNT II
                                    24             ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (RFDCPA)
                                    25                                  CAL. CIV. CODE §§ 1788-1788.32
                                    26    44.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                    27          paragraphs.
                                    28

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                                     1    45.   The foregoing acts and omissions constitute numerous and multiple violations
                                     2          of the RFDCPA, including but not limited to each and every one of the above-
                                     3          cited provisions of the RFDCPA, Cal. Civ. Code §§ 1788-1788.32
                                     4    46.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                     5          any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                     6          damages for a knowing or willful violation in the amount up to $1,000.00
                                     7          pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                     8          costs pursuant to Cal. Civ. Code § 1788.30(c) from each and every defendant,
                                     9          jointly and severally.
                                    10
                                    11                                          PRAYER FOR RELIEF
                                    12    WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and
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                                    13    Plaintiff be awarded damages from Defendants, as follows:
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                                    14                                                  COUNT I
                                    15                             FAIR DEBT COLLECTION PRACTICES ACT
                                    16                                       15 U.S.C. §§ 1692 ET SEQ.
                                    17    47.   An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                    18    48.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)
                                    19          (2)(A);
                                    20    49.   An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
                                    21          U.S.C. § 1692k(a)(3).
                                    22                                                 COUNT II
                                    23             ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (RFDCPA)
                                    24                                  CAL. CIV. CODE §§ 1788-1788.32
                                    25    50.   An award of actual damages pursuant to Cal. Civ. Code § 1788.30(a);
                                    26    51.   An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code §
                                    27          1788.30(b);
                                    28

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                                     1    52.   An award of costs of litigation and reasonable attorney’s fees, pursuant to Cal.
                                     2          Civ. Code § 1788.30(c).
                                     3                                             TRIAL BY JURY
                                     4    53.   Pursuant to the seventh amendment to the Constitution of the United States of
                                     5          America, Plaintiffs are entitled to, and demand, a trial by jury.
                                     6
                                     7
                                          Date: February 2, 2017                                  Hyde & Swigart
                                     8
                                                                                                  By: /s/ David J. McGlothlin
                                     9
                                                                                                  David J. McGlothlin
                                    10                                                            Attorneys for the Plaintiffs
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